
*161OPINION.
Trussell:
(1) The subject of a claim for loss on account of the obsolescence or destruction of the good will of a business which has been compulsorily terminated by reason of prohibition legislation was the subject of consideration of the Board in the case of the Manhattan Brewing Co., 6 B. T. A. 952, and by the United States Circuit Court of Appeals in the case of Red Wing Malting Co. v. Willcuts, 15 Fed. (2d) 626, where it was held that good will is not such a kind of property, a deduction for the obsolescence of which was provided for in section 284 (a) (7) of the Revenue Act of 1918. Those decisions are controlling in the instant case.
*162(2) The record contains a variety of opinion testimony respecting the March 1, 1913, value of the Secor Hotel Co.’s leasehold of land and buildings. One witness gave it as his opinion that on March 1, 1913, the land had a value of $328,000 and the building a value of $792,000. Another witness testified that the Toledo Real Estate Board Valuation Committee made an appraisal as of March 1, 1913, and found the land to have a value of $342,000 and the building a value of $896,000, and the same witness expressed the opinion that these values were the true values. These two and other witnesses also gave a variety of testimony respecting the value in use of hotel properties, estimating the same on the basis of a certain unit value per room per year, and as a result of all such testimony all of these witnesses testified to high values on this leasehold as of March 1, 1913.
One outstanding thought in all this testimony is that in 1908 the lessor and lessee agreed that the land subject to this lease had a value of $170,000 and that the rent finally agreed to on a percentage basis indicated a building cost of approximately $650,000. The witness whose testimony seems be the most convincing gave as his opinion that on March 1, 1913, the land value was $228,000 and the building value $792,000. On the basis of the agreed 1908 value, this taxpayer was able to procure a lease, during the last 15 years of which he must pay an average annual rental of $53,000. Upon the same basis, if he had been negotiating a lease in 1913 and upon a valuation of land of $228,000 and a building value of $792,000, and the same percentages as a basis for annual rent, this taxpayer would have been able to acquire a lease for the same 15 years at an average rental of $57,400. The difference between the average rental which the taxpayer will pay under the lease acquired and the average rent which he might have been required to pay had he negotiated the lease in 1913 is $4,400 per year, and we are of the opinion that this figure, on the basis of 15 annual payments represents the March 1, 1913, value of the leasehold, and such value is found by the use of ordinary interest- tables to be about $26,000, and we therefore find that the March 1, 1913, value of the taxpayer’s leasehold was $26,000, Appeal of Northern Hotel Co., 3 B. T. A. 1099, and that in the readjustment of its income-tax returns for the years here under consideration it should be allowed a deduction from gross income equal to one-fifteenth of $26,000.
The deficiencies may be redetermined in accordance with the foregoing findings of fact and opinion upon 15 days’ notice, pursumt to Bule 50, and judgment will be entered accordingly.
